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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **         *
                                              *
  J. STAR ENTERPRISES, INC.,                  *
                     Plaintiff,               *
                                              *
             v.                               *   No. 20-645C
                                              *   Filed: July 10, 2020
  UNITED STATES,                              *
                     Defendant.               *
                                              *
      * * * * * * * * * * * * * * * * **      *

                                        ORDER

       The court is in receipt of plaintiff’s July 10, 2020 notice of voluntary of dismissal
without prejudice of the above-captioned case. Pursuant to Rule 41(a)(1)(A) of the Rules
of the United States Court of Federal Claims (2019), this court ORDERS that this case
be DISMISSED without prejudice.

       IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
